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 1                       UNITED STATES DISTRICT COURT
 2                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,     )       CASE NO.: 08-cr-00427-MCE
 4                                 )
               Plaintiff,          )
 5                                 )
          v.                       )       ORDER TO RETURN SURETY
 6                                 )
     VARDGES EGIAZARIAN,           )
 7                                 )
               Defendant.          )
 8                                 )
                                   )
 9   ______________________________)
10
          The Court has read and considered Defendant VARDGES
11
     EGIAZARIAN Request for order to return the deed of trust to the
12
     property located at 8066 Vantage Avenue, North Hollywood,
13
     California, 91605, which was given to the court as surety for
14
     Defendant’s bail, by Akop Terteryan.
15
          The Court hereby finds that the request demonstrates good
16
     cause.
17
          THEREFORE, GOOD CAUSE APPEARING:
18
          The deed of trust in possession of the court for the
19
     property located at 8066 Vantage Avenue, North Hollywood, CA,
20
     91605, shall be returned to Akop Terteryan forthwith.
21
          IT IS SO ORDERED.
22
     Dated: April 29, 2009
23
24                                     _____________________________
                                       MORRISON C. ENGLAND, JR.
25                                     UNITED STATES DISTRICT JUDGE
26
27
28
